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IN THE UNITEI) sTA'rEs DISTRICT coURT 489
FoR THE WESTERN DISTRICT on TENNESSEE <°€' p ‘ ‘~- 5
EASTERN DIvIsIoN ' ;1§1»‘{<~€}`§;;!;:;/- ,, ’5’ 3
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k /T 019 '*'YLC",/#-
CHARLES R. DAILEY, sR., and wife vV~¢,,/`,,FQ/s; 1
LINDA L. DAILEY, ' 435 "/

Plaintiffs,
vs.

MERCK & CO., INC.; BECKY
CAPPS TEAL, DPH; EXPRESS
SCRIPTS, INC.; SARAH C.
CAPOCACCIA; STEPHANIE B.
(BUCK) ISON; COURTNEY SHAY
(INGRAM) McMAKIN; VINAY
KRISHAN SOOD; MELISSA CAROL
(McALLISTER) BARNES; MICHAEL
RICHARDS; PATRICIA
BLASINGAME and SCOTT EVANS,

Defendants

 

 

Case No.: 1:05-cv-01083-.IDT-sta

ORDER ON MOTION FOR SPECIAL ADMISSION PRO HAC VICE

Joseph R. Alexander, Jr., has moved for special admission pro hac vice in this action on

behalf of Plaintiffs. Mr. Alexander is licensed to practice law in good standing before the U.S.

District Court of Texas, Southern District. For good cause shown, that motion is granted lt is

hereby ordered that Mr. Alexander be admitted pro hac vice as counsel for Plaintiffs and may

actively participate in any tl~ial, pre»trial and post-trial proceedings before this court.

IT IS SO ORDERED.

signedchisthe ZQ?M/ day MM 2005
Qi/)/n/Ag

This document entered on the docket In compliance
with Ru!e 58 and.'or_'fs (a) FRCP on "

 

UNITEW€`

ATES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 1:05-CV-01083 Was distributed by faX, mail, or direct printing on
April 27, 2005 to the parties listed.

 

 

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Honorable .l ames Todd
US DISTRICT COURT

